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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION

In re:
                                                               Case No. 3:16-bk-02230-PMG
RMS TITANIC, INC., et al.,1                                    Chapter 11 (Jointly Administered)

                  Debtors.


              NOTICE OF CANCELLATION OF AUCTION AND INTENT
             TO SEEK APPROVAL OF THE SALE OF THE TRANSFERRED
                  ASSETS TO THE STALKING HORSE PURCHASER

          PLEASE TAKE NOTICE that on September 13, 2018, the United States Bankruptcy

Court for the Middle District of Florida (the “Bankruptcy Court”) entered its Order (A)

Approving Competitive Bidding and Sale Procedures; (B) Approving Form and Manner of

Notices; (C) Approving Form of Asset Purchase Agreement; (D) Approving Break-Up Fee

and Expense Reimbursement; (E) Scheduling Auction and Hearing to Consider Final

Approval of Sale, Including Rejection or Assumption and Assignment of Related Executory

Contracts and Unexpired Leases and Settlement with the PacBridge Parties; (F) Authorizing

Sale of the Transferred Assets Free and Clear of All Liens, Claims, Encumbrances, and

Interests; and (G) Granting Related Relief [D.E. 1201] (the “Bidding Procedures Order”),

approving procedures for the sale of the Transferred Assets.2


1
  The Debtors in the chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number include: RMS Titanic, Inc. (3162); Premier Exhibitions, Inc. (4922); Premier Exhibitions
Management, LLC (3101); Arts and Exhibitions International, LLC (3101); Premier Exhibitions International,
LLC (5075); Premier Exhibitions NYC, Inc. (9246); Premier Merchandising, LLC (3867); and Dinosaurs
Unearthed Corp. (7309). The Debtors’ service address is 3045 Kingston Court, Suite I, Peachtree Corners,
Georgia 30071.
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  All capitalized terms used by not otherwise defined herein shall have the meaning ascribed to them in the
Bidding Procedures Order.




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        PLEASE TAKE FURTHER NOTICE that, pursuant to the Bidding Procedures

Order and the Bidding Procedures, the deadline to submit bids to purchase the Transferred

Assets was October 5, 2018 at 4:00 p.m. (prevailing Eastern Time) (the “Bid Deadline”).

In the event that more than one Qualified Bid was received on or before the Bid Deadline,

the Debtors were to conduct an Auction commencing on October 11, 2018 at 10:00 a.m.

(prevailing Eastern Time) at the offices of Troutman Sanders LLP, 600 Peachtree Street NE,

Suite 3000, Atlanta GA 30308 to determine the highest and otherwise best bid for the

Transferred Assets. As set forth in the Bidding Procedures, the Asset Purchase Agreement

submitted by the Stalking Horse Purchaser was deemed to be a Qualified Bid and the Stalking

Horse Purchaser was deemed to be a Qualified Bidder.

        PLEASE TAKE FURTHER NOTICE that, other than the Qualified Bid submitted

by the Stalking Horse Purchaser pursuant to the Asset Purchase Agreement, the Debtors did

not receive any other Qualified Bids prior to the Bid Deadline. THEREFORE, THE

DEBTORS WILL NOT CONDUCT AN AUCTION ON OCTOBER 11, 2018 AT 10:00

A.M.

        PLEASE TAKE FURTHER NOTICE that, pursuant to the Bidding Procedures

Order and the Bidding Procedures, the Debtors are proceeding with the Sale Hearing on

October 18, 2018 at 10:00 a.m. (prevailing Eastern Time), where the Debtors will seek

approval of the sale of the Transferred Assets to the Stalking Horse Purchaser under the

Asset Purchase Agreement.




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                         NELSON MULLINS RILEY
                         & SCARBOROUGH LLP


                         By         /s/ Daniel F. Blanks
                                Daniel F. Blanks (FL Bar No. 88957)
                                Lee D. Wedekind, III (FL Bar No. 670588)
                                50 N. Laura Street, Suite 4100
                                Jacksonville, FL 32202
                                (904) 665-3656 (direct)
                                (904) 665-3699 (fax)
                                daniel.blanks@nelsonmullins.com
                                lee.wedekind@nelsonmullins.com

                         and

                         TROUTMAN SANDERS LLP
                         Harris B. Winsberg (GA Bar No. 117751)
                         Matthew R. Brooks (GA Bar No. 378018)
                         600 Peachtree Street NE, Suite 5200
                         Atlanta, GA 30308
                         (404) 885-3000 (phone)
                         (404) 962-6990 (fax)
                         harris.winsberg@troutmansanders.com
                         matthew.brooks@troutmansanders.com

                         Counsel for the Debtors and Debtors in Possession




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                            CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically
filed with the Clerk of the Court using CM/ECF on October 8, 2018. I also certify that the
foregoing document is being served this day on the following counsel of record via
transmission of Electronic Filing generated by CM/ECF:

 Jay B. Verona, Esq.                          Jill E. Kelso, Esq.
 Shumaker, Loop & Kendrick, LLP               Miriam G. Suarez, Esq.
 101 E. Kennedy Blvd., Suite 2800             Office of the United States Trustee
 Tampa, FL 33602                              400 W. Washington Street, Suite 1100
 (813) 229-7600                               Orlando FL 32801
 jverona@slk-law.com                          (407) 648-6301 ext. 137
 Attorneys for George F. Eyde                 jill.kelso@usdoj.gov
 Orlando, LLC and Louis J. Eyde               Miriam.g.suarez@usdoj.gov
 Orlando, LLC                                 Attorneys for Guy G. Gebhardt,
                                              Acting U.S. Trustee for Region 21

 Scott M. Grossman, Esq.                      Ari Newman, Esq.
 Greenberg Traurig                            Greenberg Traurig, P.A.
 401 East Las Olas Boulevard, Suite 2000      333 S.E. 2nd Avenue, Suite 4400
 Fort Lauderdale, FL 33301                    Miami, FL 33131
 (954) 768-5212                               (305) 579-0500
 grossmansm@gtlaw.com                         newmanar@gtlaw.com
 Attorneys for Lang Feng, Haiping Zou,        Attorneys for Lang Feng, Haiping Zou,
 Jihe Zhang, and High Nature Holdings         Jihe Zhang, and High Nature Holdings
 Limited                                      Limited

 Jason B. Burnett, Esq.                       Andrew T. Jenkins, Esq.
 GrayRobinson, P.A.                           Bush Ross, P.A.
 50 N. Laura Street, Suite 1100               P.O. Box 3913
 Jacksonville, FL 32202                       Tampa, FL 33601-3913
 (904) 598-9929                               (813) 224-9255
 jason.burnett@gray-robinson.com              ajenkins@bushross.com
 Attorneys for 417 Fifth Avenue Real          Attorneys for Bank of America, N.A.
 Estate, LLC




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Matthew J. Troy, Esq.                        Kathy A. Jorrie, Esq.
U.S. Dept. of Justice                        Pillsbury Winthrop Shaw Pittman LLP
1100 L Street NW, Suite 10030                725 S. Figueroa Street, Suite 2800
Washington, DC 20005                         Los Angeles, CA 90017
(202) 514-9038                               (213) 488-7251
matthew.troy@usdoj.gov                       Kathy.jorrie@pillsburylaw.com
Attorneys for the United States Department   Attorneys for AEG Presents, LLC
of Commerce, National Oceanic and
Atmospheric Administration

Brian D. Equi, Esq.                          J. Ellsworth Summers, Jr., Esq.
Goldberg Segalla, LLP                        Burr Forman, LLP
121 S. Orange Avenue, Suite 1500             50 N. Laura Street, Suite 3000
Orlando, FL 32801                            Jacksonville, FL 32202
(407) 458-5608                               (904) 232-7200
bequi@goldbergsegalla.com                    esummers@burr.com
salamina@goldbergsegalla.com                 Attorneys for Michael J. Little
sherndon@goldbergsegalla.com
Attorneys for Structure Tone, Inc.

Norman P. Fivel, Esq.                        D. Marcus Braswell, Jr., Esq.
Assistant Attorney General                   Sugarman & Susskind, P.A.
Office of the New York State                 100 Miracle Mile, Suite 300
Attorney General                             Coral Gables, FL 33134
Civil Recoveries Bureau,                     (305) 529-2801
Bankruptcy Litigation Unit                   mbraswell@sugarmansusskind.com
The Capitol                                  Attorneys for Theatrical Protective Union,
Albany, NY 12224-0341                        Local No. One, IATSE
(518) 776-2264
norman.fivel@ag.ny.gov
Attorneys for New York Dept. of Taxation
and Finance

Chris Broussard, Esq.                        Richard R. Thames, Esq.
Suzy Tate, P.A.                              Thames Markey & Heekin, P.A.
14502 N. Dale Mabry Highway, Suite 200       50 N. Laura Street, Suite 1600
Tampa, FL 33618                              Jacksonville, FL 32202
(813) 264-1685                               (904) 358-4000
cbrouss@suzytate.com                         rrt@tmhlaw.net
Attorneys for The Armada Group GP, Inc.      Attorneys for Official Committee of
                                             Unsecured Creditors




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Avery Samet, Esq.                            Peter J. Gurfein, Esq.
Jeffrey Chubak, Esq.                         Roye Zur, Esq.
Storch Amini & Munves PC                     Landau Gottfried & Berger LLP
140 East 45th Street, 25th Floor             1801 Century Park East, Suite 700
New York, NY 10017                           Los Angeles, CA 90067
(212) 490-4100                               (310) 557-0050
asamet@samlegal.com                          pgurfein@lgbfirm.com
jchubak@samlegal.com                         rzur@lgbfirm.com
Attorneys for Official Committee of          Attorneys for Official Committee of Equity Security
Unsecured Creditors                          Holders of Premier Exhibitions, Inc.

Jacob A. Brown, Esq.                         Skyler M. Tanner, Esq.
Katherine C. Fackler, Esq.                   Lane Powell PC
Akerman LLP                                  601 SW Second Avenue, Suite 2100
50 N. Laura Street, Suite 3100               Portland, OR 97204
Jacksonville, FL 32202                       tanners@lanepowell.com
(904) 798-3700                               beldingt@lanepowell.com
jacob.brown@akerman.com                      docketing-pdx@lanepowell.com
katherine.fackler@akerman.com                Attorneys for Oregon Museum of Science and
Attorneys for the Official Committee of      Industry
Equity Security Holders of Premier
Exhibitions, Inc.

T. David Mitchell, Esq.                      Howard Siegel, Esq.
Brenner Kaprosy Mitchell, L.L.P.             945 McKinney Street, PMB 434
30050 Chagrin Blvd., Suite 100               Houston, TX 77002
Pepper Pike, OH 44124                        (713) 984-4801
(216) 292-5555                               howard@eucinv.com
tdmitchell@brenner-law.com                   Attorney for Euclid Investments, LP
Attorneys for CRI Properties, Ltd.           And Euclid Claims Recovery LLC

Susan R. Sherrill-Beard, Esq.                Garrett A. Nail, Esq.
U.S. Securities and Exchange Commission      John F. Isbell, Esq.
Office of Reorganization                     Thompson Hine LLP
950 East Paces Ferry Road, N.E.              3560 Lenox Road, Suite 1600
Suite 900                                    Atlanta, GA 30326
Atlanta, GA 30326                            (404) 541-2900
(404) 842-7626                               garrett.nail@thompsonhine.com
sherrill-beards@sec.gov                      john.isbell@thompsonhine.com
atlreorg@sec.gov                             Attorneys for Bay Point Capital Partners, LP
Attorneys for U.S. Securities and
Exchange Commission




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Steven R. Fox, Esq.                          Stephen D. Busey, Esq.
Fox Law Corporation                          Asghar A. Syed, Esq.
17835 Ventura Blvd., Suite 306               Smith Hulsey & Busey
Encino, CA 91316                             225 Water Street, Suite 1800
srfox@foxlaw.com                             Jacksonville, FL 32202
Attorneys for Titanic Entertainment          (904) 359-7700
Holdings                                     busey@smithhulsey.com
                                             asyed@smithhulsey.com
                                             Attorneys for the Ad Hoc Group of Equityholders

Jennifer Feldsher, Esq.                      Patricia Ann Redmond, Esq.
David L. Lawton, Esq.                        Stearns Weaver, et al.
Bracewell LLP                                150 West Flagler Street, Suite 2200
1251 Avenue of the Americas                  Miami, FL 33130
New York, NY 10020                           (305) 789-3200
(212) 508-6100                               predmond@stearnweaver.com
Jennifer.feldsher@bracewell.com              Attorneys for the Trustees of the National Maritime
David.laweton@bracewell.com                  Museum
Attorneys for the Ad Hoc Group of
Equityholders

Timothy Graulich, Esq.                       Jason B. Burnett, Esq.
James I. McClammy, Esq.                      Ashlea A. Edwards, Esq.
Mara Theophila, Esq.                         GrayRobinson, P.A.
Davis Polk & Wardwell LLP                    50 N. Laura Street, Suite 1100
450 Lexington Avenue                         Jacksonville, FL 32202
New York, NY 10017                           (904) 598-9929
(212) 450-4000                               jason.burnett@gray-robinson.com
Timothy.graulich@davispolk.com               ashlea.edwards@gray-robinson.com
James.mcclammy@davispolk.com                 Attorneys for Ramparts, Inc. d/b/a Luxor Hotel
Mara.theophila@davispolk.com                 and Casino
Attorneys for the Trustees of the National
Maritime Museum

Steven Z. Szanzer, Esq.
Davis Polk & Wardwell LLP
450 Lexington Avenue
New York, NY 10017
(212) 450-4000
Steven.szanzer@davispolk.com
Attorneys for Royal Museum Greenwich




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Via U.S. Mail

A-1 Storage and Crane                ABC Imaging
2482 197th Avenue                    5290 Shawnee Road, Suite 300
Manchester, IA 52057                 Alexandria, VA 22312

A.N. Deringer, Inc.                  ATS, Inc.
PO Box 11349                         1900 W. Anaheim Street
Succursale Centre-Ville              Long Beach, CA 90813
Montreal, QC H3C 5H1

Broadway Video                       CBS Outdoor/Outfront Media
30 Rockefeller Plaza                 185 US Highway 48
54th Floor                           Fairfield, NJ 07004
New York, NY 10112

Dentons Canada LLP                   Enterprise Rent-A-Car Canada
250 Howe Street, 20th Floor          709 Miner Avenue
Vancouver, BC V6C 3R8                Scarborough, ON M1B 6B6

Expedia, Inc.                        George Young Company
10190 Covington Cross Drive          509 Heron Drive
Las Vegas, NV 89144                  Swedesboro, NJ 08085
Gowlings                             Hoffen Global Ltd.
550 Burrard Street                   305 Crosstree Lane
Suite 2300, Bental 5                 Atlanta, GA 30328
Vancouver, BC V6C 2B5

Kirvin Doak Communications           MNP LLP
5230 W. Patrick Lane                 15303 - 31st Avenue
Las Vegas, NV 89118                  Suite 301
                                     Surrey, BC V3Z 6X2

Morris Visitor Publications          NASDAQ Stock Market, LLC
543 Broad Street                     805 King Farm Blvd.
Augusta, GA 30901                    Rockville, MD 20850

National Geographic Society          NYC Dept. of Finance
1145 - 17th Avenue NW                PO Box 3646
Washington, DC 20036                 New York, NY 10008




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PacBridge Limited Partners               Pallet Rack Surplus, Inc.
22/F Fung House                          1981 Old Covington Cross Road NE
19-20 Connaught Road                     Conyers, GA 30013
Central Hong Kong

Screen Actors Guild                      Seaventures, Ltd.
1900 Broadway                            5603 Oxford Moor Blvd.
5th Floor                                Windemere, FL 34786
New York, NY 10023

Sophrintendenza Archeologica             Syzygy3, Inc.
di Napoli e Pompei                       231 West 29th Street
Piazza Museo 19                          Suite 606
Naples, Italy 80135                      New York, NY 10001

Time Out New York                        TPL
405 Park Avenue                          3340 Peachtree Road
New York, NY 10022                       Suite 2140
                                         Atlanta, GA 30326

TSX Operating Co.                        Verifone, Inc.
70 West 40th Street                      300 S. Park Place Blvd.
9th Floor                                Clearwater, FL 33759
New York, NY 10018

WNBC - NBC Universal Media               Jonathan B. Ross, Esq.
30 Rockefeller Center                    Gowling WLG (Canada) LLP
New York, NY 10112                       550 Burrard Street, Suite 2300, Bentall 5
                                         Vancouver, BC V6C 2B5
United States Attorney’s Office          Christine R. Etheridge, Esq.
Middle District of Florida               Bankruptcy Administration
300 N. Hogan Street, Suite 700           Wells Fargo Vendor Financial Services, LLC
Jacksonville, FL 32202                   PO Box 13708
                                         Macon, GA 31208

B.E. Capital Management Fund LP          TSX Operating Co., LLC
Thomas Branziel                          c/o James Sanna
228 Park Avenue South, Suite 63787       70 W. 40th Street
New York, NY 10003                       New York, NY 10018
Creditor Committee                       Creditor Committee




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 Dallian Hoffen Biotechnique Co., Ltd.    AEG Presents LLC
 c/o Ezra B. Jones                        c/o Managing Member
 305 Crosstree Lane                       5750 Wilshire Blvd.
 Atlanta, GA 30328                        Suite 501
 Creditor Committee                       Los Angeles, CA 90036-3638

 AEG Presents LLC                         AEG Presents LLC
 c/o Managing Member                      c/o Managing Member
 800 W. Olympic Blvd.                     425 W. 11th Street
 Suite 305                                Los Angeles, CA 90015-3459
 Los Angeles, CA 90015

 AEG Presents LLC
 c/o CT Corporation System,
 Registered Agent
 ATTN: Amanda Garcia
 818 West Seventh Street
 Suite 930
 Los Angeles, CA 90017


                                               /s/ Daniel F. Blanks
                                                      Attorney



~#4813-7600-6007~




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